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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

DEBORAH NELSON                     ) Civil Action No. 3:16-cv-00547-CRS
                                   )
                                   )
                                   )
              PLAINTIFF,           ) ANSWER
                                   )
v.                                 )
                                   ) Electronically Filed
GORDON BIERSCH BREWERY             )
RESTAURANT GROUP AND CRAFTWORKS )
RESTAURANT & BREWERIES GROUP, INC. )


                      DEFENDANT


                                          * * * * * *

        Defendants Gordon Biersch Brewery Restaurant Group Inc. and Craftworks Restaurants

& Breweries Groups, Inc. (collectively, “Defendants”), by counsel, for their Answer to the

Complaint filed by Plaintiff Deborah Nelson (“Plaintiff”), state as follows:

                                       FIRST DEFENSE

        1.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 1 of the Complaint, and accordingly deny

same.

        2.     Defendants admit that Gordon Biersch Brewery Restaurant Group Inc. (“Gordon

Biersch”) was a corporation doing business in Kentucky and had a principal office in Tennessee.

Defendants deny any other averments contained in paragraph 2 of the Complaint.
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       3.        Defendants admit that Craftworks Restaurants & Breweries Groups, Inc.

(“Craftworks”) was a corporation doing business in Kentucky and had a principal office in

Colorado. Defendants deny any other averments contained in paragraph 3 of the Complaint.

       4.        Defendants deny the allegations contained in paragraph 4 of the Complaint.

       5.        Defendants admit that Craftworks was the owner of the Gordon Biersch restaurant

located at 400 S. 4th Street in Louisville, Kentucky at all times relevant. Defendants deny any

other averments contained in paragraph 5 of the Complaint.

       6.        Defendants admit Craftworks is the parent company of Gordon Biersch.

Defendants deny any other averments contained in paragraph 6 of the Complaint.

       7.        With respect to the allegations in paragraph 7 of the Complaint, Defendants admit

that an incident involving Plaintiff occurred at the Gordon Biersch restaurant located at 400 S.

4th Street on August 11, 2015. Defendants deny any other averments set forth in paragraph 7 of

the Complaint.

       8.        Defendants state that the allegations in paragraph 8 of the Complaint are legal

conclusions to which no response is necessary, To the extent that there are factual allegations

containing in paragraph 8 of the Complaint, Defendants deny them.

       9.        Defendants deny the allegations contained in paragraphs 9-16 of the Complaint.

       10.       Defendants state that the allegations in paragraph 17 of the Complaint are legal

conclusions to which no response is necessary, To the extent that there are factual allegations

containing in paragraph 17 of the Complaint, Defendants deny them.

       11.       With respect to the allegations in paragraph 18 of the Complaint, Defendants

admit that the Plaintiff’s claims against Defendants exceed the jurisdictional dollar amount
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necessary to establish proper jurisdiction in this court. Defendant denies any other averments set

forth in paragraph 18 of the Complaint.

                                      SECOND DEFENSE

       12.     Plaintiff’s Complaint fails to state a claim against Defendants upon which relief

may be granted.

                                       THIRD DEFENSE

       13.     Plaintiff’s claims are barred, in whole or in part, by the failure of the Plaintiff to

exercise ordinary care for her own safety, said failure being a substantial factor in causing the

injuries and damages of which she complains, if any there be.

                                      FOURTH DEFENSE

       14.     Plaintiff’s claims are barred, in whole or in part, to the extent that the Plaintiff’s

injuries and damages, if any there be, were caused by the action or inaction of a third party or

third parties over whom Defendants exercised no control.

                                       FIFTH DEFENSE

       15.     The injuries and damages complained of by Plaintiff in the Complaint were

caused in whole or in party by her own fault, and any recovery must be reduced by her

percentage of fault.

                                       SIXTH DEFENSE

       16.     The actions of Defendants were not a proximate cause of the injuries and damages

complained of by Plaintiff in the Complaint.

                                     SEVENTH DEFENSE

       17.     Defendants reserve the right to assert additional affirmative defenses as may be

warranted by the proof developed during discovery.
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       WHEREFORE, Defendants Gordon Biersch Brewery Restaurant Group Inc. and

Craftworks Restaurants & Breweries Groups, Inc. demand that the Complaint against them be

dismissed with prejudice and that Plaintiff recover nothing by way of her Complaint; that

Defendants recover their costs herein expended, including attorney’s fees; and, that Defendants

have all further relief to which they may be entitled.


                                              Respectfully submitted,

                                              /s/ Douglas C. Ballantine
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                                              Restaurant Group Inc. and Craftworks Restaurants
                                              & Breweries Groups, Inc.
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                                CERTIFICATE OF SERVICE

    I hereby certify that the foregoing was served by the Clerk of the Court using the Court’s
Electronic Case Filing (ECF) system and U.S. Mail this 1st day of September, 2016, upon the
following:

    Kevin B. Sciantarelli, Esq.
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                                             /s/ Douglas C. Ballantine
                                             Counsel for Defendants Gordon Biersch Brewery
                                             Restaurant Group Inc. and Craftworks Restaurants
                                             & Breweries Groups, Inc.




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